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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
CAREY D. EBERT §
§
Plaintiff, §
§
v. § Civil Action No.: 4:15-cv-225-O
§
MICHAEL GUSTIN, et al., §
§
Defendants §

NOTICE OF APPEAL
Notice is hereby given that Separate Defendants, Matthew J. Cohen, Howard Miller Appel
and Ernest A. Bartlett, III, Separate Defendants in the above named case, hereby appeal to the United
States Court of Appeals for the Fii°th Circuit from: (I) the Final Judgment entered in this action on
March 7, 2018 [Dkt. No. 332]; (ii) the Order dated January 22, 2018 [Dkt. No. 320]; and (iii) the

Order dated March 7, 2018 [Dkt. NO. 331.].

Respectfully Submitted,

By: /S/ Kenneth R. Shemin
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and

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Counsel for Howard Appel,
Ernest A. Bartlett and Matthew Cohen

CERTIFICATE OF SERVICE

I, Kenneth R. Shernin, do hereby certify that a copy of the foregoing Was served on all
counsel of record herein via electronic mail on this 27th day of March, 2018.

/s/ Kenneth R. Shernin
Kenneth R. Shernin

